  AO 247 (02108) Order Regarding Motion for Sentence Reduction


                                        UNITED STATES DISTRICT COURT
                                                                    for the

                                                     Eastern District of North Carolina

                    United States of America                          )
                               v.                                     )
                                                                      ) Case No:     5:94-CR-97-6F
                   Timothy Gerome McCullers
                                                                      ) USMNo: 15233-056
Date of Previous Judgment:                 September 5, 1995          )
(Use Date of Last Amended Judgment II Apphcable)                      ) Defendant's Attorney Thomas P. McNamara

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of the            defendant              under 18 U.S.C. § 3582(c)(2) for a reduction in the term
of imprisonment imposed based on a guideline sentencing range that has subsequently been lowered and made retroactive
by the United States Sentencing Commission pursuant to 28 U.S.C. § 994(u), and the court having considered such
motion,
IT IS ORDERED that the motion is:

         ~ DENIED.               D GRANTED             and the defendant's previously imposed sentence of imprisonment (as reflected

                                 in the last judgment issued) of               months is reduced to     months.
If the amount of time the defendant has already served exceeds this sentence, the sentence is reduced to a "Time Served"
sentence, subject to an additional period of up to ten (10) days for administrative purposes of releasing the defendant.

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)

Previous Offense Level:                                                   Amended Offense Level:
                               -------
Criminal History Category:                                                Criminal History Category:
                                   -------
                                                to               months   Amended Guideline Range:
Previous Guideline Range:
                                   ---               ---                                               - - - to              months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE

D The reduced sentence is within the amended guideline range.
D The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time of
    sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the amended
    guideline range.


D Other (explain) :




Continued on pageCase
                 2    5:94-cr-00097-F                    Document 580         Filed 09/01/10       Page 1 of 2
DEFENDANT:    Timothy Gerome McCullers                                                                     Judgment - Page 2 of2
CASE NUMBER: 5:94-CR-97-6F




In. ADDITIONAL COMMENTS
 After reviewing all relevant factors, the court finds that Section IBl.l0, Application Note 4(A), Exclusion Relating to
 Revocation, provides that only a term of imprisonment imposed as part of the original sentence is authorized to be reduced
 under this section. A reduction in the term of imprisonment imposed upon revocation of supervised release is not
 authorized. The sentence for which the defendant is currently incarcerated results from a revocation of supervised release.
 Therefore, the defendant is not eligible for a reduction under 18 U.S.C. § 3582(c)(2) and Amendment 706 as amended, and
 the defendant's motion is denied.




Except as provided above, all provisions of the judgment dated                            shall remain in effect.
IT IS SO ORDERED.

Order Date:


Effective Date:                                               James C. Fox, Senior U.S. District Judge
                  (if different from order date)                                  Printed name and title




                    Case 5:94-cr-00097-F           Document 580      Filed 09/01/10        Page 2 of 2
